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UN|TED STATES OF AMER|CA wm O¥ ~*»;,`5. ?__EEM
P|aintiff

VS.
CR. NO. 04-20299-D

DONN|E JOHNSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on .June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6. 2005 with

a report date of Thursdag¢l August 25, 2005, at 9:00 a.m., in Courtroom 3 9th F|oor of
the Federal Bui|ding, Memphis, TN.

 

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

iT ls so oRoERED this [Q““\ day orJuly, 2005.

E N|CE B. NALD
UN|TED STATES DlSTRlCT JUDGE

This document entered on the docket sh ti |i ce
with Fiule 55 and/or 32(b) FRCrP on

 

 

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This notice confirms a copy of the document docketed as number 55 in
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Honorable Bernice Donald
US DISTRICT COURT

